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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN

JASON CANTRELL #397429,

        Plaintiff,                       NO. 1:18-cv-1163

v                                        HON. GORDON J. QUIST

MICHIGAN DEPARTMENT OF                   MAG. PHILLIP J. GREEN
CORRECTIONS, et al.,

        Defendants.
                                                                         /

                                    Exhibit B

                       Gary Stump Deposition Transcript
                            Taken: March 13, 2020
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CANTRELL v. HEILIG, ET AL                          DEPOSITION OF GARY STUMP


                            UNITED STATES DISTRICT COURT

            IN THE WESTERN DISTRICT OF MICHIGAN, SOUTHERN DIVISION

      JASON CANTRELL,

                Plaintiff,

      v                                       File No. 1:18-cv-1163

                                              HON. GORDON J. QUIST
      ANTHONY HEILIG, SCOTT ARP,
                                              MAG. PHILLIP J. GREEN
                Defendants.

                                      /


                              DEPOSITION OF GARY STUMP

           Taken by the Plaintiff on the 13th day of March, 2020, at

           1727 West Bluewater Highway, Ionia, Michigan, at 2:00 p.m.


      APPEARANCES:

      For the Plaintiff:          MR. DANIEL E. MANVILLE (P39731)
                                  Clinical Professor
                                  Michigan State University College of Law
                                  648 North Shaw Lane, Room 216D
                                  East Lansing, Michigan 48824
                                  (517) 432-6866

      For the Defendant:          MS. KRISTIE ANN SPARKS (P79177)
                                  Assistant Attorney General
                                  Department of Attorney General
                                  PO Box 30217
                                  Lansing, Michigan 48909
                                  (517) 335-3055

      Also Present:               Breanne Gilliam, Amanda Keshish


      RECORDED BY:                Marcy A. Klingshirn, CER 6924
                                  Certified Electronic Recorder
                                  Network Reporting Corporation
                                  Firm Registration Number 8151
                                  1-800-632-2720


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           Examination by Mr. Manville and Ms. Keshish. . . . . .            3
   4
           Q* = Questions asked by Mr. Manville
   5
           Examination by Ms. Sparks. . . . . . . . . . . . . . .        21
   6

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  10       Deposition Exhibit 1 marked . . . . . . . . . . . . .             3
                (8/19/17 Critical Incident Report)
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CANTRELL v. HEILIG, ET AL                             DEPOSITION OF GARY STUMP


   1                     Ionia, Michigan
   2                     Friday, March 13, 2020 - 1:44 p.m.
   3                     (Deposition Exhibit 1 marked)
   4                     REPORTER:    Do you solemnly swear or affirm the
   5        testimony you’re about to give will be the whole truth?
   6                     MR. STUMP:    Yes, I do.
   7                                    GARY STUMP
   8                having been called by the Plaintiff and sworn:
   9                                   EXAMINATION
  10   BY MR. MANVILLE AND MS. KESHISH:
  11   Q    Would you state your full name for the record and spell it,
  12        please?
  13   A    Gary Alfred Stump, G-a-r-y       A-l-f-r-e-d   S-t-u-m-p.
  14   Q    Thank you.     My name is Amanda Keshish and I am a law student
  15        representing the Plaintiff, Jason Cantrell, under the
  16        supervision of my professor, Dan Manville.
  17   A    Okay.
  18   Q    Have you ever had a deposition taken before?
  19   A    No.
  20   Q    Okay.     So before we begin, I would like to share a little
  21        bit about how depositions work and then go over a few ground
  22        rules in order to keep the record as clean as possible.         So
  23        does that sound good?
  24   A    Yes.
  25   Q    So this deposition is an informal court proceeding.         There


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CANTRELL v. HEILIG, ET AL                          DEPOSITION OF GARY STUMP


   1       from both prisoners and staff.
   2   Q   And were you the sergeant on August 19th, 2017, in housing
   3       unit two?
   4   A   Yes.
   5   Q   And what is your height and weight?
   6   A   5'8", about 180 probably.
   7   Q   And is that a same or similar weight to that of August 2017?
   8   A   Yes.
   9   Q   Okay.   So now moving on to the incident that happened --
  10   A   Okay.
  11   Q   -- on August 19th, 2017.    So as you already stated you were
  12       the housing unit two sergeant that night?
  13   A   Yes.
  14   Q   And who were the other supervisors in the housing unit that
  15       night prior to you responding to Cantrell's cell?
  16   A   There were no other supervisors.
  17   Q   And do you know if an officer is required after a cell
  18       shakedown to leave the room in a similar condition as they
  19       found it?
  20   A   Yes; yes.
  21   Q   So is there an MDOC policy that states this?
  22   A   Yes.
  23   Q   And were you aware that Officer Heilig did not leave
  24       Cantrell's cell in the condition as it was before he
  25       conducted the search?


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CANTRELL v. HEILIG, ET AL                          DEPOSITION OF GARY STUMP


   1   A   No.
   2   Q   Do you agree that this is an -- if the cell was not left in
   3       the same or similar position, would you agree that this
   4       would be in violation of MDOC policy?
   5   A   Yes.
   6   Q   Were you ever informed that the plaintiff wanted to speak to
   7       you after Heilig searched plaintiff's cell?
   8   A   No.
   9   Q   Did you see the plaintiff exit his cell when the doors
  10       opened for medication lines later that afternoon/evening?
  11   A   I don't recall if I directly observed it.     I don't believe I
  12       directly observed him come out, no.
  13   Q   And so did you ever get a chance to speak with him prior to
  14       the incident?
  15   A   I don't -- I don't recall speaking to him prior to the
  16       incident, no.
  17   Q   Did you ever hear Heilig say to plaintiff, "Keep it up and
  18       you're going to get what's coming to you"?
  19   A   No.
  20   Q   So on August 19th, 2017, did there come a time where you
  21       assisted Officer Heilig in housing unit two?
  22   A   Yes.
  23   Q   How did you become aware that your presence was being
  24       requested?
  25   A   There was a prisoner on the upper level that -- that refused


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CANTRELL v. HEILIG, ET AL                          DEPOSITION OF GARY STUMP


   1       to return back to his cell.
   2   Q   So was that over the radio or did you hear it yourself?
   3   A   I don't -- I don't recall exactly how, no.     It may have been
   4       over the radio.
   5   Q   Do you remember if you were in the housing unit when you
   6       received that call?
   7   A   It seemed like I was in the unit on the base area at the
   8       time.
   9   Q   And why did you respond?
  10   A   Why did I respond?
  11   Q   Yes.
  12   A   Generally if there's an incident that involves a prisoner
  13       that may be being disruptive, a supervisor should be there.
  14       I mean, that -- I don't want to say that that's my personal
  15       opinion, but that's -- that's my -- my style of supervision.
  16       If the staff -- if the line staff need my help, then I'm
  17       there.
  18   Q   And did other officers respond to the plaintiff's cell?
  19   A   Yes.
  20   Q   Who were those officers?
  21   A   I do not recall.
  22   Q   How many officers were working in the housing unit at the
  23       time of the incident?
  24   A   The regular staff were there which would have been four, and
  25       if I -- if I recall correctly, we had put an additional


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   1       couple of officers, additional staff in there.
   2   Q   And what was your understanding of what was happening up at
   3       the plaintiff's cell prior to your arrival?
   4   A   They were just running med line.
   5   Q   Okay.
   6   A   They were -- yeah, they were releasing prisoners to come out
   7       to get their medication and then to go back to their cells.
   8   Q   So once you received this call and you were on the base
   9       level, what happened next?    What did you do?
  10   A   I responded up to the cell.
  11   Q   Okay.   And what happened after you arrived at the
  12       plaintiff's cell?   What other officers were already there?
  13   A   I don't recall.
  14   Q   What other officers arrived after you got to the cell?
  15   A   I don't recall.
  16   Q   Do you remember if the plaintiff's bunkie was inside the
  17       cell?
  18   A   Yes, he was.
  19   Q   Do you remember what Officer Heilig was saying?
  20   A   No.
  21   Q   Do you remember what Officer Arp was saying?
  22   A   No.
  23   Q   Do you remember what other officers were saying?
  24   A   No.
  25   Q   What did you say when you arrived at the cell?


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   1   A   I -- I can't quote what I said.        I -- I can't quote.
   2       Generally -- I can't quote what I -- what I said.        Generally
   3       if we have a prisoner -- I -- I -- I can't quote what I
   4       said.     I do not recall.
   5   Q   And do you remember what the plaintiff was saying?
   6   A   No; no.
   7   Q   And did the plaintiff's cell mate say anything?
   8   A   I don't recall.
   9   Q   And what was the plaintiff's behavior when you arrived at
  10       the cell?
  11   A   He was -- he was upset and I believe there was a strong odor
  12       of alcohol coming from him, coming from his breath.          But he
  13       was upset and kind of reeked of alcohol.
  14   Q   Did you ever see a bag of alcohol in the room or anything?
  15   A   I don't recall.
  16   Q   Did you aid Officer Heilig in removing plaintiff from his
  17       cell?
  18   A   I -- I remember being at the door and I remember handcuffs
  19       going on the prisoner.       I don't recall who put them on and I
  20       don't -- I don't recall if I -- if I had verbally, you know,
  21       if I'd given any instructions.
  22   Q   That was my next question.        Did you give any verbal commands
  23       to the plaintiff?
  24   A   I don't recall.     More than likely I did, but I can't say
  25       that I did.     Generally I -- I do.     I'm going to try to take


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